         Case 1:20-cr-00330-AJN Document 418 Filed 11/08/21 Page 1 of 1
                                          U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                    November 8, 2021

BY ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:    United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

       Pursuant to the Court’s order (Dkt. No. 409), attached is Exhibit A to Dkt. No. 406 with

the proposed redactions implemented.



                                                 Respectfully submitted,

                                                 DAMIAN WILLIAMS
                                                 United States Attorney


                                           By:       s/
                                                 Maurene Comey
                                                 Alison Moe
                                                 Lara Pomerantz
                                                 Andrew Rohrbach
                                                 Assistant United States Attorneys
                                                 Southern District of New York


Cc: Defense Counsel (By ECF)
